         Case 1:20-cv-03178-LJL Document 112 Filed 01/11/21 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 HC2, INC.,                                               Civil Action No.: 20-cv-3178 (LJL)
                        Plaintiff,
                                                      DECLARATION OF NANCY RAUSCH IN
 v.
                                                       SUPPORT OF HC2’S OPPOSITION TO
 ANDREW DELANEY,                                        PLAINTIFF’S MOTION TO DISMISS
                                                       PURSUANT TO FED. R. CIV. P. 12(b)(1)
                        Defendant.




       I, Nancy Rausch, declare as follows:

       1.      lam the Controller of Plaintiff HC2, Inc. (“HC2”). I am a legal resident of Illinois.

       2.      I have personal knowledge of all the facts stated herein based on my personal

knowledge and my review of Plaintiff s records.

       3.      I began working for HC2 on January 28, 2019. As Controller, I am responsible for

financial reporting, external audits, payables and receivables. I also oversee all finance functions

and banking.

       4.      Beginning in the third quarter of 2019 and through April 2020, HC2’s external

audits, including its annual financial audit, insurance audits, Employee Stock Ownership Plan

(ESOP) audits, and forensic audits, were all conducted in Chicago.

       5.      While we maintain most of our records electronically, HC2 keeps any hard copy

documents related to its audits in our Chicago office. Moreover, although we previously kept our

other hard copy corporate documents in New York, I had them transferred to our Chicago office

after I was hired in January 2019, where they have remained.

       6.      By Spring 2019,1 had five employees reporting to me. Two employees were based

in Chicago and three were based in New York. Since at least April 22, 2020, this balance has
                                                  1
            Case 1:20-cv-03178-LJL Document 112 Filed 01/11/21 Page 2 of 2



changed and I currently have three Chicago employees who report to me and two out of New York.

I typically hold weekly staff meetings in Chicago, with the New York employees dialing in

remotely.

       7.       Since at least April 22, 2020,1 have met with CEO Joan Davison in the Chicago

office on a nearly daily basis to discuss any finance department related issues.



       I declare under penalty of perjury that the above is true and correct, and that I executed this

declaration this 11th day of January 2021 in Chicago, Illinois.




                                                              NANW RAUSCH




                                                                                            45563873.1




                                                  2
